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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                                   No. 12-859

MARLIN GUSMAN, ET AL.                                                   SECTION I

                                       ORDER

         Considering defendant Marlin N. Gusman’s motion1 for a status conference,

         IT IS ORDERED that the motion is GRANTED. A status conference shall

be held by telephone on MARCH 24, 2020 at 8:45 A.M. with all parties

participating. On or before March 23, 2020, a party shall notify the Court’s

chambers if it intends to participate by telephone and it shall provide the Court

with a telephone number that the Court can use to contact that party.

         New Orleans, Louisiana, March 10, 2020.



                                        _______________________________________
                                                LANCE M. AFRICK
                                        UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1263.
